                                                               Case 2:25-cv-00053-FMO-BFM                 Document 19   Filed 01/27/25   Page 1 of 22 Page ID
                                                                                                                #:264


                                                                 1   AARON J. MOSS (SBN 190625)
                                                                     AMoss@ggfirm.com
                                                                 2   JOSHUA M. GELLER (SBN 295412)
                                                                     JGeller@ggfirm.com
                                                                 3   GREENBERG GLUSKER FIELDS CLAMAN &
                                                                     MACHTINGER LLP
                                                                 4   2049 Century Park East, Suite 2600
                                                                     Los Angeles, California 90067
                                                                 5   Telephone: 310-553-3610
                                                                     Facsimile: 310-553-0687
                                                                 6
                                                                     Attorneys for Defendant Riot Games, Inc.
                                                                 7
                                                                 8                                 UNITED STATES DISTRICT COURT
                                                                 9                                CENTRAL DISTRICT OF CALIFORNIA
                                                                10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                11   MARC WOLSTENHOLME,                                  Case No. 2:25-cv-00053-FMO-BFM
                          2049 Century Park East, Suite 2600




                                                                12                           Plaintiff,                  Hon. Fernando M. Olguin
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                13            v.                                         NOTICE OF MOTION AND
                                                                                                                         MOTION TO DISMISS FIRST
                                                                14   RIOT GAMES, INC.,                                   AMENDED COMPLAINT
                                                                                                                         PURSUANT TO FRCP 12(B)(6);
                                                                15                           Defendant.                  MEMORANDUM OF POINTS AND
                                                                                                                         AUTHORITIES
                                                                16
                                                                                                                         Date: February 27, 2025
                                                                17                                                       Time: 10:00 a.m.
                                                                                                                         Crtrm: 6D
                                                                18
                                                                19                                                       [Declaration of Joshua Geller and
                                                                                                                         [Proposed] Order filed concurrently
                                                                20                                                       herewith]
                                                                21                                                       Complaint filed: October 31, 2024
                                                                22                                                       Notice of Removal filed: January 3, 2025
                                                                23                                                       FAC filed: January 13, 2025
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                     74677-00029/5406323.7                                                   NOTICE OF MOTION AND
                                                                                                                                             MOTION TO DISMISS FAC
                                                               Case 2:25-cv-00053-FMO-BFM       Document 19     Filed 01/27/25    Page 2 of 22 Page ID
                                                                                                      #:265


                                                                 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                 2            PLEASE TAKE NOTICE that on February 27, 2025 at 10:00 a.m., or as
                                                                 3   soon thereafter as the matter may be heard in Courtroom 6D of the above-entitled
                                                                 4   Court, located at 350 W. 1st Street, 6th Floor, Los Angeles, CA 90012, Defendant
                                                                 5   Riot Games, Inc. (“Riot”) will, and hereby does, move to dismiss Plaintiff Marc
                                                                 6   Wolstenholme’s (“Wolstenholme”) First Amended Complaint (“FAC”) with
                                                                 7   prejudice for failure to state a claim pursuant to Fed. R. Civ. Pro. 12(b)(6). The
                                                                 8   FAC filed by Wolstenholme does not allege a plausible claim for relief as to any of
                                                                 9   its four causes of action. As to its two copyright claims, it fails to plausibly allege
                                                                10   (i) that Wolstenholme has registered copyright or is otherwise excepted from the
GREENBERG GLUSKER FIELDS CLAMAN




                                                                11   registration requirement, (ii) that Riot had access to Wolstenholme’s purported
                          2049 Century Park East, Suite 2600




                                                                12   work(s), or (iii) that Riot unlawfully appropriated any protected expression in
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                13   Wolstenholme’s purported work(s). As to its unfair competition claim, that claim is
                                                                14   preempted by the Copyright Act. As to its claim for intentional infliction of
                                                                15   emotional distress, the claim is time-barred and barred by the litigation privilege,
                                                                16   and the alleged conduct is not sufficiently extreme and outrageous to state the claim
                                                                17   as a matter of law.
                                                                18            This Motion is based on this Notice of Motion and Motion, the attached
                                                                19   Memorandum of Points and Authorities, the concurrently filed Declaration of
                                                                20   Joshua Geller, any reply papers that may be filed, and on such further oral or
                                                                21   documentary evidence as may be presented at or before the hearing on this matter.
                                                                22            The motion is made following a conference between counsel and
                                                                23   Wolstenholme, who is representing himself pro se, pursuant to Local Rule 7-3,
                                                                24   which took place by email correspondence on January 16 and 18, and a further
                                                                25   telephonic conference on January 20, 2025.
                                                                26   //
                                                                27   //
                                                                28   //

                                                                                                                                       NOTICE OF MOTION AND
                                                                     74677-00029/5406323.7
                                                                                                                2                      MOTION TO DISMISS FAC
                                                               Case 2:25-cv-00053-FMO-BFM    Document 19   Filed 01/27/25   Page 3 of 22 Page ID
                                                                                                   #:266


                                                                 1   DATED: January 27, 2025               GREENBERG GLUSKER FIELDS
                                                                                                           CLAMAN & MACHTINGER LLP
                                                                 2
                                                                 3
                                                                                                           By:      /s/ Joshua M. Geller
                                                                 4                                               AARON J. MOSS (SBN 190625)
                                                                                                                 JOSHUA M. GELLER (SBN 295412)
                                                                 5                                               Attorneys for Defendant
                                                                                                                 Riot Games, Inc.
                                                                 6
                                                                 7
                                                                 8
                                                                 9
                                                                10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                11
                          2049 Century Park East, Suite 2600




                                                                12
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                13
                                                                14
                                                                15
                                                                16
                                                                17
                                                                18
                                                                19
                                                                20
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                                                                NOTICE OF MOTION AND
                                                                     74677-00029/5406323.7
                                                                                                           3                    MOTION TO DISMISS FAC
                                                               Case 2:25-cv-00053-FMO-BFM                Document 19             Filed 01/27/25           Page 4 of 22 Page ID
                                                                                                               #:267


                                                                 1                                            TABLE OF CONTENTS
                                                                 2                                                                                                                      Page
                                                                 3   I.       INTRODUCTION ........................................................................................... 1
                                                                 4   II.      LEGAL STANDARD ..................................................................................... 1
                                                                 5   III.     PROCEDURAL BACKGROUND ................................................................. 2
                                                                 6   IV.      THE FAC FAILS TO STATE A CLAIM FOR DIRECT
                                                                              COPYRIGHT INFRINGEMENT. .................................................................. 4
                                                                 7
                                                                              A.       Wolstenholme Fails to Allege Compliance with the Copyright
                                                                 8                     Act’s Registration Requirement............................................................ 4
                                                                 9            B.       Wolstenholme Fails to Plausibly Allege Access. ................................. 6
                                                                10            C.       Wolstenholme Fails to Plausibly Allege Copying of Protected
GREENBERG GLUSKER FIELDS CLAMAN




                                                                11                     Expression. ............................................................................................ 7
                                                                     V.       THE FAC FAILS TO STATE A CLAIM FOR VICARIOUS
                          2049 Century Park East, Suite 2600




                                                                12
                            Los Angeles, California 90067




                                                                              COPYRIGHT INFRINGEMENT. .................................................................. 9
       & MACHTINGER LLP




                                                                13   VI.      THE FAC FAILS TO STATE A CLAIM FOR UNFAIR
                                                                14            COMPETITION UNDER CAL. BUS. CODE § 17200. .............................. 10
                                                                15   VII. THE FAC FAILS TO STATE A CLAIM FOR INTENTIONAL
                                                                          INFLICTION OF EMOTIONAL DISTRESS. ............................................. 11
                                                                16
                                                                              A.       The IIED Claim is Barred by the Two-Year Statute of
                                                                17                     Limitations. ......................................................................................... 11
                                                                18            B.       The IIED Claim is Barred by the Litigation Privilege. ....................... 12
                                                                19            C.       The Conduct Alleged is Not Sufficiently Outrageous to State a
                                                                                       Claim for IIED. ................................................................................... 13
                                                                20
                                                                     VIII. CONCLUSION ............................................................................................. 13
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                     74677-00029/5406323.7                                                                       NOTICE OF MOTION AND
                                                                                                                                  i                              MOTION TO DISMISS FAC
                                                               Case 2:25-cv-00053-FMO-BFM                Document 19           Filed 01/27/25         Page 5 of 22 Page ID
                                                                                                               #:268


                                                                 1                                        TABLE OF AUTHORITIES
                                                                 2                                                                                                                  Page
                                                                 3
                                                                     CASES
                                                                 4
                                                                     Al-Bustani v. Alger,
                                                                 5      No. C22-5238JLR, 2023 WL 3120747 (W.D. Wash. Apr. 27, 2023) ................. 9
                                                                 6   Am. Ass’n of Naturopathic Physicians v. Hayhurst,
                                                                       227 F.3d 1104 (9th Cir. 2000) .............................................................................. 2
                                                                 7
                                                                     Ashcroft v. Iqbal,
                                                                 8      556 U.S. 662 (2009) ............................................................................................. 2
                                                                 9   Bell Atlantic Corp. v. Twombly,
                                                                        550 U.S. 544 (2007) ............................................................................................. 2
                                                                10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                     Blanchard v. DIRECTV, Inc.,
                                                                11      123 Cal. App. 4th 903 (2004) ............................................................................. 12
                          2049 Century Park East, Suite 2600




                                                                12   Cantu v. Resolution Trust Corp.,
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                       4 Cal. App. 4th 857 (1992) ........................................................................... 11, 13
                                                                13
                                                                     Carlini v. Paramount Pictures Corp.,
                                                                14     2021 WL 911684 (C.D. Cal. Feb. 2, 2021) .......................................................... 6
                                                                15   DigitAlb, Sh.a v. Setplex, LLC,
                                                                        284 F. Supp. 3d 547 (S.D.N.Y. 2018) .................................................................. 5
                                                                16
                                                                     Esplanade Prods., Inc. v. Walt Disney Co.,
                                                                17      2017 WL 5635024 (C.D. Cal. July 11, 2017) .................................................. 8, 9
                                                                18   Evans v. McCoy-Harris,
                                                                       2019 WL 1002512 (C.D. Cal. January 4, 2019) .................................................. 8
                                                                19
                                                                     Fillmore v. Blumhouse Prods.,
                                                                20      LLC, 2017 WL 4708018 (C.D. Cal. Jul. 7, 2017) ................................................ 6
                                                                21   Izmo, Inc. v. Roadster, Inc.,
                                                                        2019 WL 2359228 (N.D. Cal. June 4, 2019) ....................................................... 5
                                                                22
                                                                     Kiely v. Universal Music Grp.,
                                                                23      2020 WL 4037161 (C.D. Cal. Mar. 5, 2020) ....................................................... 5
                                                                24   Kodadek v. MTV Networks, Inc.,
                                                                       152 F.3d 1209 (9th Cir. 1998) ............................................................................ 10
                                                                25
                                                                     Loomis v. Cornish,
                                                                26     836 F.3d 991 (9th Cir. 2016) ............................................................................ 6, 7
                                                                27   Luvdarts, LLC v. AT & T Mobility, LLC,
                                                                        710 F.3d 1068 (9th Cir. 2013) ............................................................................ 10
                                                                28

                                                                                                                                                             NOTICE OF MOTION AND
                                                                     74677-00029/5406323.7
                                                                                                                               ii                            MOTION TO DISMISS FAC
                                                               Case 2:25-cv-00053-FMO-BFM                  Document 19             Filed 01/27/25           Page 6 of 22 Page ID
                                                                                                                 #:269


                                                                 1                                           TABLE OF AUTHORITIES
                                                                                                                   (continued)
                                                                 2
                                                                                                                                                                                            Page
                                                                 3
                                                                 4   Malibu Textiles, Inc. v. Label Lane Int'l, Inc.,
                                                                       922 F.3d 946 (9th Cir. 2019) ................................................................................ 4
                                                                 5
                                                                     Meta-Film Assocs., Inc. v. MCA, Inc.,
                                                                 6     586 F. Supp. 1346 (C.D. Cal. May 14, 1984) ...................................................... 6
                                                                 7   Moncada v. W. Coast Quartz Corp.,
                                                                       221 Cal. App. 4th 768 (2013) ............................................................................. 13
                                                                 8
                                                                     Navarro v. Block,
                                                                 9     250 F.3d 729 (9th Cir. 2001) ................................................................................ 2
                                                                10   Perfect 10, Inc. v. Visa Int'l Serv. Ass’n,
GREENBERG GLUSKER FIELDS CLAMAN




                                                                        494 F.3d 788 (9th Cir. 2007) ................................................................................ 9
                                                                11
                                                                     Plotnik v. Meihaus,
                          2049 Century Park East, Suite 2600




                                                                12      208 Cal. App. 4th 1590 (2012) ........................................................................... 13
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                13   Rentmeester v. Nike, Inc.,
                                                                       883 F.3d 1111 (9th Cir. 2018) .............................................................................. 4
                                                                14
                                                                     Royal 4 Sys., Inc. v. RLI Ins. Co.,
                                                                15     No. CV 22-05732-RSWL-RAO, 2022 WL 19263327 (C.D. Cal. Dec. 9,
                                                                       2022) ................................................................................................................... 11
                                                                16
                                                                     Schkeiban v. Cameron,
                                                                17      2012 WL 12895722 (C.D. Cal. May 10, 2012).................................................... 6
                                                                18   Silberg v. Anderson,
                                                                        50 Cal. 3d 205 (1990) ......................................................................................... 12
                                                                19
                                                                     Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin,
                                                                20      952 F.3d 1051 (9th Cir. 2020) .............................................................................. 4
                                                                21   Soliman v. CVS RX Servs., Inc.,
                                                                        570 F. App’x 710 (9th Cir. 2014) ....................................................................... 11
                                                                22
                                                                     Somers v. Apple, Inc.,
                                                                23     729 F.3d 953 (9th Cir. 2013) ................................................................................ 2
                                                                24   United States v. Ritchie,
                                                                       342 F.3d 903 (9th Cir. 2003) .............................................................................. 11
                                                                25
                                                                     Washington v. ViacomCBS, Inc.,
                                                                26     2020 WL 5823568 (C.D. Cal. Aug. 20, 2020) ..................................................... 6
                                                                27   Washoutpan.com, LLC v. HD Supply Constr. Supply Ltd.,
                                                                       2019 WL 9050859 (C.D. Cal. Aug. 5, 2019) ....................................................... 6
                                                                28

                                                                                                                                                       NOTICE OF MOTION AND MOTION
                                                                     74677-00029/5406323.7
                                                                                                                                  iii                 TO DISMISS AMENDED COMPLAINT
                                                               Case 2:25-cv-00053-FMO-BFM                 Document 19            Filed 01/27/25           Page 7 of 22 Page ID
                                                                                                                #:270


                                                                 1                                          TABLE OF AUTHORITIES
                                                                                                                  (continued)
                                                                 2
                                                                                                                                                                                         Page
                                                                 3
                                                                 4   Zella v. E.W. Scripps Co.,
                                                                        529 F. Supp. 2d 1124 (C.D. Cal. 2007) ................................................................ 7
                                                                 5
                                                                     STATUTES
                                                                 6
                                                                     17 U.S.C. § 101.......................................................................................................... 5
                                                                 7
                                                                     17 U.S.C. § 102(a)(1) .............................................................................................. 10
                                                                 8
                                                                     17 U.S.C. § 103........................................................................................................ 10
                                                                 9
                                                                     17 U.S.C. § 301(a) ................................................................................................... 10
                                                                10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                     17 U.S.C. § 411(a) ..................................................................................................... 5
                                                                11
                                                                     17 U.S.C. § 505.......................................................................................................... 1
                          2049 Century Park East, Suite 2600




                                                                12
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                     Cal. Civ. Code § 47(b) ............................................................................................. 12
                                                                13
                                                                     Cal. Civ. Prod. Code § 335.1 ................................................................................... 11
                                                                14
                                                                     OTHER AUTHORITIES
                                                                15
                                                                     Fed. R. Civ. Pro. 12(b)(6) .................................................................................. 2, 2, 3
                                                                16
                                                                     Fed. R. Civ. Pro. 12(e) ............................................................................................... 3
                                                                17
                                                                     Local Rule 7-3 ....................................................................................................... 2, 3
                                                                18
                                                                19
                                                                20
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                                                                                     NOTICE OF MOTION AND MOTION
                                                                     74677-00029/5406323.7
                                                                                                                                 iv                 TO DISMISS AMENDED COMPLAINT
                                                               Case 2:25-cv-00053-FMO-BFM        Document 19     Filed 01/27/25   Page 8 of 22 Page ID
                                                                                                       #:271


                                                                 1                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                                 2   I.       INTRODUCTION
                                                                 3            Plaintiff Marc Wolstenholme (“Wolstenholme”), who is representing himself
                                                                 4   pro se, has not adequately alleged any of his purported claims for relief. His First
                                                                 5   Amended Complaint (“FAC”) is a perfunctory recitation of the elements of four
                                                                 6   claims: direct copyright infringement, vicarious copyright infringement, unfair
                                                                 7   competition, and intentional infliction of emotional distress. Dkt. No. 11. What
                                                                 8   little he does allege establishes that these claims cannot proceed as a matter of law.
                                                                 9            First, the two copyright claims lack any allegation of what copyrighted work
                                                                10   Wolstenholme owns, how Defendant Riot Games, Inc. (“Riot”) purportedly gained
GREENBERG GLUSKER FIELDS CLAMAN




                                                                11   access to the work, and how Riot purportedly copied its protected expression.
                          2049 Century Park East, Suite 2600




                                                                12   Based on correspondence Riot has received from Wolstenholme, it is clear
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                13   Wolstenholme has no viable copyright claims because he does not have a registered
                                                                14   copyright and is alleging (at best) similarities in unprotected ideas. He therefore
                                                                15   cannot avoid scrutiny of his defective claims by pleading vague legal conclusions.
                                                                16             Second, the state law claims for unfair competition and intentional infliction
                                                                17   of emotional distress are barred as a matter of law. The first is facially preempted
                                                                18   by the Copyright Act, as Wolstenholme alleges nothing more than misappropriation
                                                                19   of copyrighted material. The second is barred on numerous grounds, as
                                                                20   Wolstenholme simply alleges that a letter sent by Riot’s counsel in response to
                                                                21   Wolstenholme’s demand in 2021 caused him severe emotional distress by alerting
                                                                22   him to the fact that frivolous claims may expose him to liability for Riot’s
                                                                23   attorney’s fees. See 17 U.S.C. § 505. Such a claim is barred by the statute of
                                                                24   limitations and litigation privilege and fails to allege tortious conduct.
                                                                25            Wolstenholme cannot state any claim for relief and his FAC should be
                                                                26   dismissed with prejudice.
                                                                27   II.      LEGAL STANDARD
                                                                28            Federal Rule of Civil Procedure (“FRCP”) 8 requires a plaintiff to provide

                                                                                                                                       NOTICE OF MOTION AND
                                                                     74677-00029/5406323.7
                                                                                                                 1                     MOTION TO DISMISS FAC
                                                               Case 2:25-cv-00053-FMO-BFM        Document 19      Filed 01/27/25   Page 9 of 22 Page ID
                                                                                                       #:272


                                                                 1   “fair notice of what the claim is and the grounds on which it rests.” Bell Atlantic
                                                                 2   Corp. v. Twombly, 550 U.S. 544, 545 (2007) (quotation and alteration omitted).
                                                                 3   Although a plaintiff need not provide “detailed factual allegations,” he must
                                                                 4   provide “more than an unadorned, the defendant-unlawfully-harmed-me
                                                                 5   accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks
                                                                 6   omitted). “[A] plaintiff’s obligation to provide the grounds of his entitlement to
                                                                 7   relief requires more than labels and conclusions, and a formulaic recitation of the
                                                                 8   elements of a cause of action will not do.” Twombly, 550 U.S. at 555.
                                                                 9            A motion to dismiss under FRCP 12(b)(6) “tests the legal sufficiency of a
                                                                10   claim.” Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). Dismissal under
GREENBERG GLUSKER FIELDS CLAMAN




                                                                11   FRCP 12(b)(6) “is proper when the complaint either (1) lacks a cognizable legal
                          2049 Century Park East, Suite 2600




                                                                12   theory or (2) fails to allege sufficient facts to support a cognizable legal theory.”
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                                13   Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). To survive dismissal, “a
                                                                14   complaint must contain sufficient factual matter, accepted as true, to ‘state a claim
                                                                15   to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678.
                                                                16            While pleadings filed by pro se litigants are often interpreted liberally, “a pro
                                                                17   se litigant is not excused from knowing the most basic pleading requirements.”
                                                                18   Am. Ass’n of Naturopathic Physicians v. Hayhurst, 227 F.3d 1104, 1107–08 (9th
                                                                19   Cir. 2000), as amended on denial of reh’g (Nov. 1, 2000).
                                                                20   III.     PROCEDURAL BACKGROUND
                                                                21            On October 31, 2024, Wolstenholme filed a complaint for copyright
                                                                22   infringement, unfair competition, and intentional infliction of emotional distress in
                                                                23   the Superior Court for the County of Los Angeles. Dkt. No. 1, Exh. A. Because
                                                                24   federal courts have exclusive jurisdiction over copyright actions, Riot removed this
                                                                25   action on January 3, 2025. Dkt. No. 1. The initial complaint consisted of a state-
                                                                26   court form document, akin to a Civil Cover Sheet, with no narrative statement of
                                                                27   Wolstenholme’s claims. Dkt. No. 1, Exh. A. Riot informed Wolstenholme of this
                                                                28   defect, and when he failed to file an amended complaint, Riot filed a motion to

                                                                                                                                          NOTICE OF MOTION AND
                                                                     74677-00029/5406323.7
                                                                                                                  2                       MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM            Document 19 Filed 01/27/25     Page 10 of 22 Page ID
                                                                                                     #:273


                                                                1   dismiss under FRCP 12(b)(6) or, in the alternative, for a more definite statement
                                                                2   under FRCP 12(e). Dkt. No. 7. Wolstenholme filed a First Amended Complaint
                                                                3   (“FAC”) on January 13, 2025. Dkt. No. 11.
                                                                4            The allegations in the FAC are scarce. As best Riot can tell, Wolstenholme
                                                                5   is alleging that Riot’s animated television series Arcane infringes Wolstenholme’s
                                                                6   manuscript “Bloodborg: The Harvest,” which he claims was created sometime
                                                                7   between 2018–2019.1
                                                                8            On January 16, 2025, Riot’s counsel sent Wolstenholme a meet and confer
                                                                9   letter detailing the legal basis for the instant motion to dismiss the First Amended
                                                               10   Complaint. Declaration of Joshua Geller (“Geller Decl.”), ¶ 3, Exh. B. The parties
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   exchanged further emails about the basis for this motion and had a telephonic meet
                          2049 Century Park East, Suite 2600




                                                               12   and confer on January 20, 2025 pursuant to L.R. 7-3. Geller Decl., ¶¶ 4–6, Exh. C.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            After filing his First Amended Complaint on January 13, Wolstenholme has
                                                               14   filed various additional documents. Because he is representing himself pro se,
                                                               15   many of these filings were not electronically served on Riot until several days after
                                                               16   they were initially filed. On January 16, he filed a document entitled “Declaration
                                                               17   of Marc Wolstenholme Overview of Character Evidence,” which was electronically
                                                               18   served on January 20. Dkt. No. 13. On January 17, he filed a document purporting
                                                               19   to be a preemptive opposition to Riot’s motion to dismiss the FAC (i.e., a
                                                               20   preemptive opposition to the instant motion), which was served on January 22.
                                                               21   Dkt. No. 16. And on January 20, he filed a “motion in limine to admit evidence,”
                                                               22   which he improperly noticed for hearing on February 13 (only 24 days’ notice), and
                                                               23   which was served on Riot on January 22. Dkt. No. 17. Each of these filings
                                                               24   1
                                                                      As Riot informed Wolstenholme when he first raised these claims in 2021, Riot’s
                                                               25   television series had been under development for six years prior to its release in
                                                                    2021 (long before Wolstenholme wrote his “manuscript”) and there is no evidence
                                                               26   that Riot or anyone affiliated with creating the program ever received a copy of his
                                                                    manuscript. See Geller Decl., Exh. A. While the idea that Riot’s Emmy-award
                                                               27   winning television series was copied from an unpublished manuscript drafted years
                                                                    after Arcane’s development that was never even sent to Riot is so implausible and
                                                               28   frivolous as to necessitate dismissal in its own right, the factual infirmities of
                                                                    Wolstenholme’s FAC are not the subject of this motion.
                                                                                                                                    NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                               3                    MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM              Document 19 Filed 01/27/25    Page 11 of 22 Page ID
                                                                                                       #:274


                                                                1   contains material outside of Wolstenholme’s FAC and are thus not the subject of
                                                                2   this motion. To the extent any of these materials are proffers of allegations
                                                                3   Wolstenholme could make in a further amendment to the operative pleading, they
                                                                4   are immaterial, because—for the reasons discussed further below—the defects with
                                                                5   the FAC cannot be cured by amendment.
                                                                6   IV.      THE FAC FAILS TO STATE A CLAIM FOR DIRECT COPYRIGHT
                                                                7            INFRINGEMENT.
                                                                8            “To state a claim for copyright infringement, [Wolstenholme] must plausibly
                                                                9   allege two things: (1) that [he] owns a valid copyright in [the works], and (2) that
                                                               10   [Defendants] copied protected aspects of [Wolstenholme’s works].” Rentmeester v.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Nike, Inc., 883 F.3d 1111, 1116-17 (9th Cir. 2018) (citations omitted). The second
                          2049 Century Park East, Suite 2600




                                                               12   prong has two distinct components: “copying” and “unlawful appropriation.”
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051, 1064
                                                               14   (9th Cir. 2020). “In the absence of direct evidence of copying, . . . the plaintiff can
                                                               15   attempt to prove it circumstantially by showing that the defendant had access to the
                                                               16   plaintiff’s work and that the two works share similarities probative of copying.” Id.
                                                               17   (internal quotations and citation omitted). To prove unlawful appropriation, the
                                                               18   Ninth Circuit uses a two-part test consisting of a subjective intrinsic test and an
                                                               19   objective extrinsic test to determine whether the defendant's work is substantially
                                                               20   similar to the plaintiff’s copyrighted work. Id. “Both tests must be satisfied for the
                                                               21   works to be deemed substantially similar.” Id.
                                                               22            A.       Wolstenholme Fails to Allege Compliance with the Copyright Act’s
                                                               23                     Registration Requirement.
                                                               24            “To plead ownership, [Wolstenholme] must plausibly allege [he] owns a
                                                               25   valid copyright registration for [his] work.” Malibu Textiles, Inc. v. Label Lane
                                                               26   Int'l, Inc., 922 F.3d 946, 951 (9th Cir. 2019). A valid copyright registration is a
                                                               27   precondition for commencing an infringement action because the Copyright Act
                                                               28   provides that “no civil action for infringement of the copyright in any United States

                                                                                                                                     NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                  4                  MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM            Document 19 Filed 01/27/25      Page 12 of 22 Page ID
                                                                                                     #:275


                                                                1   work shall be instituted until preregistration or registration of the copyright claim
                                                                2   has been made in accordance with this title.” 17 U.S.C. § 411(a).
                                                                3            In Fourth Estate Public Benefit Corp. v. Wall-Street.com, LLC, the Supreme
                                                                4   Court held that “registration occurs, and a copyright claimant may commence an
                                                                5   infringement suit, when the Copyright Office registers a copyright.” 586 U.S. 296,
                                                                6   299 (2019). The Court clarified that “registration is akin to an administrative
                                                                7   exhaustion requirement that the owner must satisfy before suing to enforce
                                                                8   ownership rights.” Id. at 301. Here, Wolstenholme’s FAC does not say whether or
                                                                9   not the work is registered with the United States Copyright Office. See Kiely v.
                                                               10   Universal Music Grp., 2020 WL 4037161, at *4 (C.D. Cal. Mar. 5, 2020)
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   (copyright claim fails because plaintiff “failed to allege that he owns a copyright
                          2049 Century Park East, Suite 2600




                                                               12   registration or that an exception to the rule applies”).
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13            Nor does Wolstenholme allege why he would be exempt from that
                                                               14   registration requirement, for example, by alleging sufficient facts showing that the
                                                               15   allegedly infringed work is not a United States work. DigitAlb, Sh.a v. Setplex,
                                                               16   LLC, 284 F. Supp. 3d 547, 556 (S.D.N.Y. 2018) (“[S]hould [Wolstenholme] seek to
                                                               17   rely on the § 411 registration exemption, [he] must allege that the works are not
                                                               18   United States works within the meaning of § 101.”) (citations omitted).
                                                               19   Importantly, a work that is first published abroad and in the United States
                                                               20   simultaneously is deemed to be “United States work” for purposes of the
                                                               21   registration requirement. See 17 U.S.C. § 101 (defining “United States work”).
                                                               22            Insofar as Wolstenholme’s work is subject to section 411’s registration
                                                               23   requirement and such requirement has not been satisfied, Wolstenholme cannot
                                                               24   cure this defect by now obtaining registrations and further amending. “[P]ermitting
                                                               25   amendment to cure a claimant’s failure to register its copyright before suing would
                                                               26   undermine the objectives animating the Supreme Court's decision in Fourth
                                                               27   Estate,” and is contrary to 17 U.S.C. § 411(a)’s requirement that registration be
                                                               28   made before instituting the action. Izmo, Inc. v. Roadster, Inc., 2019 WL 2359228,

                                                                                                                                     NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                5                    MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM              Document 19 Filed 01/27/25      Page 13 of 22 Page ID
                                                                                                       #:276


                                                                1   at *2 (N.D. Cal. June 4, 2019); see also Washoutpan.com, LLC v. HD Supply
                                                                2   Constr. Supply Ltd., 2019 WL 9050859, at *2 (C.D. Cal. Aug. 5, 2019) (plaintiff
                                                                3   who filed suit before obtaining a copyright could not “cure that defect by amending
                                                                4   the complaint after the Copyright Office completed registration of the copyright.”).
                                                                5   This defect therefore requires dismissal of this action with prejudice.
                                                                6            B.       Wolstenholme Fails to Plausibly Allege Access.
                                                                7            In order to properly plead access in a copyright case, a plaintiff must
                                                                8   sufficiently allege “a reasonable possibility, not merely a bare possibility, that an
                                                                9   alleged infringer had the chance to view the protected work.” Loomis v. Cornish,
                                                               10   836 F.3d 991, 995 (9th Cir. 2016) (internal quotation marks and citation omitted).
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Access “may not be inferred through mere speculation or conjecture.” Three Boys
                          2049 Century Park East, Suite 2600




                                                               12   Music, 212 F.3d at 482. Courts within the Central District routinely dismiss
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   copyright infringement cases at the pleading stage where a plaintiff’s access
                                                               14   allegations are merely speculative. See Washington v. ViacomCBS, Inc., 2020 WL
                                                               15   5823568, at *3 (C.D. Cal. Aug. 20, 2020); Carlini v. Paramount Pictures Corp.,
                                                               16   2021 WL 911684, at *7 (C.D. Cal. Feb. 2, 2021); Fillmore v. Blumhouse Prods.,
                                                               17   LLC, 2017 WL 4708018, at *4 (C.D. Cal. Jul. 7, 2017); Schkeiban v. Cameron,
                                                               18   2012 WL 12895722, at *1-*2 (C.D. Cal. May 10, 2012).
                                                               19            Wolstenholme’s allegations of “access” in the FAC are paper thin. He
                                                               20   alleges in a single sentence that he submitted his manuscript “to Riot Forge, Curtis
                                                               21   Brown Group, and others in 2020.” Dkt. No. 11, ¶ 10. He does not allege who any
                                                               22   of those entities are, nor what their relationship is to Riot or to the people actually
                                                               23   involved in creating the animated series Arcane. Without those factual allegations,
                                                               24   Wolstenholme falls far short of showing the requisite nexus between “the
                                                               25   individual who possesses knowledge of a plaintiff’s work and the creator of the
                                                               26   allegedly infringing work.” Meta-Film Assocs., Inc. v. MCA, Inc., 586 F. Supp.
                                                               27   1346, 1356-59 (C.D. Cal. May 14, 1984). Notably, “[b]are corporate receipt . . .
                                                               28   without any allegation of a nexus between the recipients and the alleged infringers,

                                                                                                                                       NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                 6                     MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM                 Document 19 Filed 01/27/25   Page 14 of 22 Page ID
                                                                                                          #:277


                                                                1   is insufficient to raise a triable issue of access.” Loomis, 836 F.3d at 995-96 (a
                                                                2   plaintiff “cannot create a triable issue of access merely by showing ‘bare corporate
                                                                3   receipt’ of her work by an individual who shares a common employer with the
                                                                4   alleged copier”). Wolstenholme was required to specifically identify how he
                                                                5   believes that anyone involved in creating Arcane could have come into contact with
                                                                6   his manuscript. Because he failed to do so, he fails to state a claim for copyright
                                                                7   infringement.
                                                                8            C.       Wolstenholme Fails to Plausibly Allege Copying of Protected
                                                                9                     Expression.
                                                               10            Wolstenholme’s claim for copyright infringement is also defective because
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   he fails to adequately allege that “the works at issue are substantially similar in their
                          2049 Century Park East, Suite 2600




                                                               12   protected elements.” Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124, 1133 (C.D.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Cal. 2007), citing Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir.
                                                               14   2002). Wolstenholme has not attached a copy of his manuscript to the FAC, nor
                                                               15   has he described in the FAC any protectible expression in the manuscript that he
                                                               16   contends was copied in Arcane. Wolstenholme does not identify a single supposed
                                                               17   similarity. 2
                                                               18            Instead, Wolstenholme’s FAC rests entirely on the legal conclusion that “that
                                                               19   characters, plotlines, thematic elements, and narrative structure in ARCANE mirror
                                                               20   those found in ‘Bloodborg: The Harvest’” and that “the official music video ‘Blood
                                                               21   Sweat & Tears’ by Riot Games, featuring Sheryl Lee Ralph, derives directly from
                                                               22   elements of ‘Bloodborg: The Harvest.’” Dkt. No. 11, ¶¶ 12–13. These legal
                                                               23   conclusions are not even adequate recitations of the second element of a copyright
                                                               24   2
                                                                      Wolstenholme has repeatedly emailed (and may have attempted to file) long lists
                                                               25   of what he claims are similarities between the works. These documents are nearly
                                                                    impossible to follow and have not, in any event, been filed as a pleading in this
                                                               26   case. If Wolstenholme were given leave to amend and sets out these perceived
                                                                    similarities in a Second Amended Complaint, Riot anticipates that that amended
                                                               27   complaint will be subject to a motion to dismiss on numerous grounds, including
                                                                    that the alleged similarities involve uncopyrightable ideas or similarities that are so
                                                               28   generic that they cannot support a claim for copyright infringement. But that will
                                                                    be the subject of a future motion, should it become necessary.
                                                                                                                                      NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                  7                   MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM             Document 19 Filed 01/27/25        Page 15 of 22 Page ID
                                                                                                      #:278


                                                                1   infringement claim—copying of protected expression. Rather, Wolstenholme
                                                                2   appears to believe that Riot’s animated television series Arcane (and a related
                                                                3   music video) “mirrors” or “derives” from elements of his manuscript, suggesting
                                                                4   that any similarities may be seriously attenuated.
                                                                5            Although it is unclear what Wolstenholme means by these conclusory
                                                                6   statements, they do not suffice to state a claim for copyright infringement. See
                                                                7   Esplanade Prods., Inc. v. Walt Disney Co., 2017 WL 5635024, at *5 (C.D. Cal.
                                                                8   July 11, 2017) (dismissing complaint where plaintiff did not attach the allegedly
                                                                9   infringed work, ruling that “the Complaint is filled with conclusory allegations that
                                                               10   are not factually specific enough to support Esplanade’s claims”); Evans v. McCoy-
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   Harris, 2019 WL 1002512, at *3 (C.D. Cal. January 4, 2019) (dismissing complaint
                          2049 Century Park East, Suite 2600




                                                               12   where plaintiff did not attach allegedly infringed screenplay, did not allege the
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   protectable elements of the infringed works, and made “no effort to compare the
                                                               14   copyrightable elements” of the two works”).
                                                               15            Esplanade is particularly instructive. There, as here, the plaintiff failed to
                                                               16   attach the allegedly infringed screenplay to his complaint. 2017 WL 5635024, at *1.
                                                               17   However, unlike Plaintiff here, the plaintiff in Esplanade at least attempted to
                                                               18   summarize and describe the allegedly infringed elements, including plot similarities
                                                               19   (“[t]he Complaint alleges that” both works “‘involve a small, cute, furry female
                                                               20   animal, who is an outsider…dismissed by the other more dominant animals because
                                                               21   of her species, and she strives to overcome that societal prejudice’”); character
                                                               22   analysis (the protagonists in both works “present an odd pair”); and character
                                                               23   design (including specific images submitted as part of the complaint). Id. at *5-*9.
                                                               24   Notwithstanding the presence of allegations substantially more detailed than those
                                                               25   alleged by Wolstenholme here, the court in Esplanade nevertheless granted the
                                                               26   defendant’s motion to dismiss. Id. at *1. The court held that “the Complaint
                                                               27   describes the alleged similarities at such a high level of generality that it is
                                                               28   impossible for the Court to evaluate whether the alleged copying was sufficiently

                                                                                                                                        NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                 8                      MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM            Document 19 Filed 01/27/25       Page 16 of 22 Page ID
                                                                                                     #:279


                                                                1   specific to be protectable or merely a series of unprotectable scénes-á-faire. The
                                                                2   allegations thus fail to state a plausible claim.” Id. (Emphasis added).
                                                                3            In sum, Wolstenholme fails to adequately allege any specific elements of
                                                                4   alleged infringement in the Complaint. His vague, conclusory, and unsupported
                                                                5   allegation that Riot’s work “mirrors” elements in his manuscript cannot state a
                                                                6   claim for copyright infringement as a matter of law.
                                                                7   V.       THE FAC FAILS TO STATE A CLAIM FOR VICARIOUS
                                                                8            COPYRIGHT INFRINGEMENT.
                                                                9            Wolstenholme also alleges a cause of action for “vicarious copyright
                                                               10   infringement.” Dkt. No. 11, ¶ 20–23. “To state a claim for vicarious copyright
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   infringement, a plaintiff must allege that the defendant has (1) the right and ability
                          2049 Century Park East, Suite 2600




                                                               12   to supervise the infringing conduct and (2) a direct financial interest in the
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   infringing activity.” Perfect 10, Inc. v. Visa Int'l Serv. Ass’n, 494 F.3d 788, 802
                                                               14   (9th Cir. 2007). “A plaintiff must therefore plausibly plead the predicate claim for
                                                               15   direct infringement in order to survive a motion to dismiss his vicarious
                                                               16   infringement claim.” Al-Bustani v. Alger, No. C22-5238JLR, 2023 WL 3120747,
                                                               17   at *2 (W.D. Wash. Apr. 27, 2023) (citing Metro-Goldwyn-Mayer Studios Inc. v.
                                                               18   Grokster, Ltd., 545 U.S. 913, 930 (2005)).
                                                               19            Wolstenholme has not alleged any predicate claim for direct infringement.
                                                               20   As discussed above, Wolstenholme has not alleged compliance with the Copyright
                                                               21   Act’s registration requirement or any copying of protected expression and therefore
                                                               22   cannot state a claim for direct infringement as to anyone. See supra Part IV.A,
                                                               23   IV.C. In addition, Wolstenholme does not even attempt to allege the specific
                                                               24   elements of vicarious liability. The FAC alleges the legal conclusions that Riot
                                                               25   “benefited financially from the unauthorized use of Plaintiff’s copyright material
                                                               26   through partnerships with Netflix, Fortiche Productions SAS, and others,” but does
                                                               27   not specify how. Dkt. No. 11, ¶ 21. It then states that “Defendant had the ability to
                                                               28   control and supervise the infringing conduct but failed to prevent it,” again without

                                                                                                                                     NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                               9                     MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM            Document 19 Filed 01/27/25       Page 17 of 22 Page ID
                                                                                                     #:280


                                                                1   any factual allegations as to how. Id. ¶ 22. These bare legal conclusions cannot
                                                                2   sustain a claim for vicarious copyright infringement. See, e.g., Luvdarts, LLC v. AT
                                                                3   & T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013). Like the direction
                                                                4   infringement claim, this claim must be dismissed with prejudice.
                                                                5   VI.      THE FAC FAILS TO STATE A CLAIM FOR UNFAIR
                                                                6            COMPETITION UNDER CAL. BUS. CODE § 17200.
                                                                7            Wolstenholme’s state law claim for unfair competition is preempted by the
                                                                8   Copyright Act. “A state law cause of action is preempted by the Copyright Act if
                                                                9   two elements are present. First, the rights that a plaintiff asserts under state law
                                                               10   must be ‘rights that are equivalent’ to those protected by the Copyright Act. 17
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   U.S.C. § 301(a). Second, the work involved must fall within the ‘subject matter’”
                          2049 Century Park East, Suite 2600




                                                               12   of the Copyright Act as set forth in 17 U.S.C. §§ 102 and 103. Kodadek v. MTV
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Networks, Inc., 152 F.3d 1209, 1212 (9th Cir. 1998).
                                                               14            Wolstenholme alleges that Riot engaged in “unlawful and unfair business
                                                               15   practices by misappropriating Plaintiff’s copyrighted material for commercial
                                                               16   gain.” Dkt. No. 11, ¶ 25. Other than this single sentence, Wolstenholme does not
                                                               17   allege any other conduct as the basis for his unfair competition claim under
                                                               18   California law. In addition, the cause of action incorporates by reference all
                                                               19   previous allegations of the complaint, including those supporting his claim for
                                                               20   copyright infringement. Because Wolstenholme’s “complaint expressly bases his
                                                               21   unfair competition claim on rights granted by the Copyright Act,” it satisfies the
                                                               22   first prong of the preemption analysis. Kodadek, 152 F.3d at 1213. As to the
                                                               23   second prong, Wolstenholme alleges infringement of a “literary work.” Dkt. No.
                                                               24   11, ¶ 9. Literary works fall within the scope of the Copyright Act. 17 U.S.C. §
                                                               25   102(a)(1). “Thus, both prongs of the preemption analysis are met, and
                                                               26   [Wolstenholme’s] unfair competition claim is preempted.” Kodadek, 152 F.3d at
                                                               27   1213. Because this claim fails as a matter of law, it should be dismissed with
                                                               28   prejudice.

                                                                                                                                      NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                               10                     MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM              Document 19 Filed 01/27/25     Page 18 of 22 Page ID
                                                                                                       #:281


                                                                1   VII. THE FAC FAILS TO STATE A CLAIM FOR INTENTIONAL
                                                                2            INFLICTION OF EMOTIONAL DISTRESS.
                                                                3            Wolstenholme alleges that he suffered emotional distress when Riot’s “legal
                                                                4   representatives responded [to his initial demand in November 2021] with threats of
                                                                5   extensive legal fees.” Dkt. No. 11, ¶¶ 15, 29–31. His claim for intentional
                                                                6   infliction of emotional distress (“IIED”) fails for three independent reasons. First,
                                                                7   it is barred by California’s two-year statute of limitations because the alleged
                                                                8   conduct occurred in 2021, but Plaintiff filed this suit in late 2024. Second, the
                                                                9   claim is barred by California’s litigation privilege because the conduct arises from
                                                               10   pre-litigation correspondence in connection with contemplated litigation. Third, the
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   conduct alleged—a routine legal communication—does not meet the high standard
                          2049 Century Park East, Suite 2600




                                                               12   for “outrageous conduct” under California law. For these reasons, the IIED claim
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   should be dismissed with prejudice.
                                                               14            A.       The IIED Claim is Barred by the Two-Year Statute of Limitations.
                                                               15            Under California law, claims for intentional infliction of emotional distress
                                                               16   are subject to a two-year statute of limitations. Cal. Civ. Proc. Code § 335.1. The
                                                               17   statute of limitations begins to run when the plaintiff suffers severe emotional
                                                               18   distress as a result of the defendant’s allegedly outrageous conduct. Cantu v.
                                                               19   Resolution Trust Corp., 4 Cal. App. 4th 857, 888 (1992); Soliman v. CVS RX Servs.,
                                                               20   Inc., 570 F. App’x 710, 711–12 (9th Cir. 2014) (affirming dismissal of IIED claim
                                                               21   as untimely).
                                                               22            Here, Wolstenholme alleges that Riot’s “legal representatives threatened
                                                               23   Plaintiff with excessive legal fees and dismissal of his claims.” Dkt. No. 11, ¶ 29.
                                                               24   While Wolstenholme does not attach the correspondence at issue to his FAC, the
                                                               25   Court may consider it as incorporated by reference because the correspondence is
                                                               26   referenced in the FAC and “forms the basis of the plaintiff's claim.” United States
                                                               27   v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); see, e.g., Royal 4 Sys., Inc. v. RLI Ins.
                                                               28   Co., No. CV 22-05732-RSWL-RAO, 2022 WL 19263327, at *4 (C.D. Cal. Dec. 9,

                                                                                                                                      NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                11                    MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM              Document 19 Filed 01/27/25      Page 19 of 22 Page ID
                                                                                                       #:282


                                                                1   2022) (incorporating by reference letters that were “referenced in the Complaint”
                                                                2   and formed the basis for the plaintiff’s claims). The pre-litigation correspondence
                                                                3   to which Wolstenholme refers was sent on November 28, 2021. Geller Decl., ¶ 3,
                                                                4   Exh. A. Wolstenholme claims that this letter caused him severe emotional distress
                                                                5   and exacerbated his PTSD. Dkt. No. 11, ¶ 29. However, Wolstenholme did not file
                                                                6   this lawsuit until late 2024—nearly three years after the alleged conduct. See Dkt.
                                                                7   No. 11, Exh. A (original complaint filed in October 2024). Because the statute of
                                                                8   limitations expired in 2023, Wolstenholme’s IIED claim is time-barred and must be
                                                                9   dismissed with prejudice.
                                                               10            B.       The IIED Claim is Barred by the Litigation Privilege.
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11            The California litigation privilege provides an absolute bar to tort claims
                          2049 Century Park East, Suite 2600




                                                               12   arising from communications made in connection with judicial proceedings. Cal.
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Civ. Code § 47(b). The privilege applies to communications “(1) made in judicial
                                                               14   or quasi-judicial proceedings; (2) by litigants or other participants authorized by
                                                               15   law; (3) to achieve the objects of the litigation; and (4) that have some connection
                                                               16   or logical relation to the action.” Silberg v. Anderson, 50 Cal. 3d 205, 212 (1990).
                                                               17            The privilege applies broadly to pre-litigation communications, including
                                                               18   correspondence made in anticipation of litigation. Blanchard v. DIRECTV, Inc.,
                                                               19   123 Cal. App. 4th 903, 919 (2004) (privilege protects letters “threatening litigation
                                                               20   and outlining legal positions”). Here, Wolstenholme challenges a letter sent by
                                                               21   Riot’s counsel that set forth Riot’s legal position and warned of the potential legal
                                                               22   consequences of pursuing frivolous claims. Geller Decl., ¶ 3, Exh. A. Because the
                                                               23   letter was made in anticipation of litigation, it is absolutely protected under the
                                                               24   litigation privilege. Wolstenholme’s IIED claim, therefore, is barred as a matter of
                                                               25   law and must be dismissed.
                                                               26   //
                                                               27   //
                                                               28   //

                                                                                                                                       NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                 12                    MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM               Document 19 Filed 01/27/25      Page 20 of 22 Page ID
                                                                                                        #:283


                                                                1            C.       The Conduct Alleged is Not Sufficiently Outrageous to State a Claim
                                                                2                     for IIED.
                                                                3            To state a claim for intentional infliction of emotional distress,
                                                                4   Wolstenholme must allege: “(1) extreme and outrageous conduct by the defendant
                                                                5   with the intention of causing, or reckless disregard of the probability of causing,
                                                                6   emotional distress; (2) the plaintiff's suffering severe or extreme emotional distress;
                                                                7   and (3) actual and proximate causation of the emotional distress by the defendant's
                                                                8   outrageous conduct.” Plotnik v. Meihaus, 208 Cal. App. 4th 1590, 1609 (2012).
                                                                9   Conduct is considered “outrageous” only if it is “so extreme as to exceed all bounds
                                                               10   of that usually tolerated in a civilized society.” Moncada v. W. Coast Quartz Corp.,
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   221 Cal. App. 4th 768, 780 (2013). Actions taken in good faith to assert or defend
                          2049 Century Park East, Suite 2600




                                                               12   legal rights are not actionable under California law. Cantu v. Resolution Trust
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   Corp., 4 Cal. App. 4th 857, 888 (1992).
                                                               14            Here, Wolstenholme’s IIED claim is based on a pre-litigation letter from
                                                               15   Riot’s counsel that communicated Riot’s legal position and warned Plaintiff of
                                                               16   potential liability should he proceed with a frivolous claim. Such correspondence,
                                                               17   even if it caused Wolstenholme distress, does not rise to the level of “outrageous
                                                               18   conduct” as a matter of law. Courts have consistently held that even a “callous
                                                               19   disregard” for a plaintiff’s well-being does not meet this standard—and a letter
                                                               20   factually stating the legal consequences of pursuing a frivolous claim does not even
                                                               21   approach that level. Moncada, 221 Cal. App. 4th at 780. Because Wolstenholme
                                                               22   has not alleged conduct that exceeds “all bounds of that usually tolerated in a
                                                               23   civilized society,” his IIED claim fails as a matter of law.
                                                               24   VIII. CONCLUSION
                                                               25            For the foregoing reasons, Riot respectfully requests that the Court dismiss
                                                               26   the FAC with prejudice.
                                                               27   //
                                                               28   //

                                                                                                                                        NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                                 13                     MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM         Document 19 Filed 01/27/25   Page 21 of 22 Page ID
                                                                                                  #:284


                                                                1   DATED: January 27, 2025               GREENBERG GLUSKER FIELDS
                                                                                                          CLAMAN & MACHTINGER LLP
                                                                2
                                                                3
                                                                                                          By:      /s/ Joshua M. Geller
                                                                4                                               AARON J. MOSS (SBN 190625)
                                                                                                                JOSHUA M. GELLER (SBN 295412)
                                                                5                                               Attorneys for Defendant
                                                                                                                Riot Games, Inc.
                                                                6
                                                                7
                                                                8
                                                                9
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                          2049 Century Park East, Suite 2600




                                                               12
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14
                                                               15
                                                               16
                                                               17
                                                               18
                                                               19
                                                               20
                                                               21
                                                               22
                                                               23
                                                               24
                                                               25
                                                               26
                                                               27
                                                               28

                                                                                                                              NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                          14                  MOTION TO DISMISS FAC
                                                         Case 2:25-cv-00053-FMO-BFM            Document 19 Filed 01/27/25      Page 22 of 22 Page ID
                                                                                                     #:285


                                                                1                           CERTIFICATE OF COMPLIANCE
                                                                2            The undersigned, counsel of record for Defendant Riot Games, Inc., certifies
                                                                3   that this Memorandum of Points and Authorities contains 4,280 words in
                                                                4   compliance with the word limit of Local Rule 11-6.1.
                                                                5
                                                                6   DATED: January 27, 2025                    GREENBERG GLUSKER FIELDS
                                                                                                               CLAMAN & MACHTINGER LLP
                                                                7
                                                                8
                                                                                                               By:      /s/ Joshua M. Geller
                                                                9                                                    AARON J. MOSS (SBN 190625)
                                                                                                                     JOSHUA M. GELLER (SBN 295412)
                                                               10                                                    Attorneys for Defendant
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                                     Riot Games, Inc.
                                                               11
                          2049 Century Park East, Suite 2600




                                                               12
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13
                                                               14
                                                               15
                                                               16
                                                               17
                                                               18
                                                               19
                                                               20
                                                               21
                                                               22
                                                               23
                                                               24
                                                               25
                                                               26
                                                               27
                                                               28

                                                                                                                                    NOTICE OF MOTION AND
                                                                    74677-00029/5406323.7
                                                                                                               15                   MOTION TO DISMISS FAC
